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 Fill in this information to identify the case:                       .      .       '

 Debtor Name Free Speech Systems LLC


 United States Bankruptcy Court for the: Southern District of Texas


 Case number: 22-60043
                                                                                                                          D Check if th is is an
                 ---------                                                                                                    amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                                     12/17

Month:                  October                                                                   Date report filed :     11/20/2023
                                                                                                                          MM / 00 /Y YYY

Line of business: Dietary Supplement Sales                                                        NAISC code:             325411

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                    ~                      agill

OMgioal sigoat,ce of cespoosible p,          ~                                   .   ~2:,L
Printed name of responsible party            -~----c-Mag--=~'--_l_______-------1'-I---------


   -            1. Questionnaire
       Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated .
                                                                                                                                Yes        No      N/A
            If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

       1.   Did the business operate durinq the entire reportinq period?                                                        [ii        □       □
       2.   Do you plan to continue to operate the business next month?                                                         [if        □       □

       3.   Have you paid all of your bills on time?                                                                            (ii        □       □

       4.   Did you pay your employees on time?                                                                                 (ii        □       □

       5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                     [ii        □       □

       6.   Have you timely filed your tax returns and paid all of your ta xes?                                                 [ii        □       □

       7.   Have you timely filed all other required government filings?                                                        [ii        □       □

    8.      Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                     □          □       ~

    9.      Have you timely paid all of your insurance premiums?                                                               (ii         □       □

            If :£OU answer Yes to an:£ of the guestions in lines 10-18, attach an exelanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                        □           [if     □

    11. Have you sold any assets other than inventory?                                                                         □           ~       □

    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?••• NOTE 1 •••    □           ~       □

    13. Did any insurance company cancel your policy?                                                                          □           [if     □

    14. Did you have any unusual or significant unanticipated expenses?                                                        □           [if     □

    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                    □           [if     □

    16. Has anyone mace an investment in your business?                                                                        □           [if     □

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Debtor Name   Free  Speech Systems LLC
              _______________________________________________________                                22-60043
                                                                                         Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                     
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                       
                 *** NOTE 1 *** We provide consignment sales services to PQPR and ESG


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                 1,918,272.00
                                                                                                                               $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                              2,303,130.00
                                                                                                        $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                       - $ __________
                                                                                                           1,764,393.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                                538,737.00
                                                                                                                            + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                2,457,009.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.                 = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           818,959.87
                                                                                                                               $ ____________

               (Exhibit E)




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Debtor Name   Free Speech Systems LLC
              _______________________________________________________                                22-60043
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         1,084,674.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          54
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          45
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                     1,607,522.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                              57,816.97
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                            733,213.96
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 2,787,940.00
                                          ____________           –     2,303,130.00
                                                                     $ ____________
                                                                                               =     -484,810.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 2,390,337.00                 1,764,393.00            =     625,944.00
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                                                 –                             =
    34. Net cash flow                   $ 397,603.00
                                          ____________                 538,737.00
                                                                     $ ____________                  141,134.00
                                                                                                   $ ____________


    35. Total projected cash receipts for the next month:                                                                         2,857,270.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  3,163,862.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                  -306,592.00




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Debtor Name   Free Speech Systems LLC
              _______________________________________________________                            22-60043
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

     38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.

     40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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FORM 425C Exhibit E
Total Payables


As of October 31, 2023
                         From                               Amount                    Due Date

Trade AP

      Chart Capital Management LLC                                     23.04      09/19/2023
      Jani-King                                                    1,125.80       10/09/2023
      Sergio Sanchez                                                   58.12      10/23/2023
      Wes Perkins                                                  1,120.00       10/23/2023
      David Thomas                                                 1,600.00       10/24/2023
      Fruge' Marion Michelle                                           40.00      10/24/2023
      Cloudflare Inc                                             35,053.59        10/25/2023
      Robert Dew                                                 20,000.00        10/25/2023
      Austin Security and Investigations                           8,810.47       10/30/2023
      Fruge' Marion Michelle                                          122.66      10/30/2023
      Leslie Muniz - V                                                246.97      10/30/2023
      Wes Perkins                                                  1,180.00       10/30/2023
      Jani-King                                                    2,747.89       10/31/2023
      Olivia Cabrales                                              3,450.00       10/31/2023
      Security Bank / Camper                                       2,196.25       10/31/2023
      Security Bank / Camper                                       2,196.25       10/31/2023
      Willow Grove Productions                                     3,450.00       11/03/2023
      Austin Security and Investigations                           8,810.47       11/06/2023
      Novasors (Centrinex LLC)                                     8,223.14       11/10/2023
      Getty Images Inc.                                          10,343.74        11/14/2023
      Specialized A C Mechanical Svcs                              5,073.34       11/22/2023
      Lumen                                                      11,548.67        11/23/2023

                                                               127,420.40


Inventory

      Ready Alliance                                             49,081.69        09/17/2023
      Ready Alliance                                             42,635.38        10/15/2023
      Ready Alliance                                             15,910.53        10/22/2023
      Supply Acceleration                                        82,369.99        10/22/2023
      Bactolac Pharmaceutical, Inc.                             137,031.20        10/25/2023
      Supply Acceleration                                        69,413.66        10/29/2023
      Paul Wittenberger - Covidland                                6,208.80       10/30/2023
      Skyhorse Publishing                                       195,156.00        11/01/2023

                                                               597,807.25


Legal / Consulting Fees

      Melissa Haselden                                             5,322.00       06/30/2023          (a)
      Patrick Magill                                             25,000.00        10/25/2023          (a)
      Daphne Pattison Silverman Pattison
      Law Firm, P.C.                                               1,750.00       10/26/2023          (a)
      Melissa Haselden                                           22,640.00        10/26/2023          (a)
      Melissa Haselden                                             4,045.00       10/26/2023          (a)
      Law Office of Ray Battaglia                                34,975.22        10/31/2023          (a)

                                                                93,732.22




      Total Accounts Payable                                   818,959.87


(a)   FSS Normally pays legal fees at the end of the month, but due to the actions of AXOS Bank
      cutting off the account without notice, we were transitioning between accounts at the end of
      the month. That is why the legal fees paid in the month is $0 on Section 6 of the October MOR
      and the AP balance is more than normal for Professional Fees.




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FORM 425C Exhibit F
Total Receivables

     Free Speech Systems LLC does not have traditional receivables from our customers. Virtually all
     our transactions happen via our on-line store and aggregated by our third party credit card
     processor. There is a lag between the transaction on the on-line store and the funding from
     our processor. Therefore, we don't have traditional customer receivables but have included
     our daily processor deposits that are unpaid as of the end of the month as receivables

As of October 31, 2023

           From                 Amount               Due Date
     Processor T                101,859.77          10/18/2023
     Processor T                115,783.16          10/19/2023
     Processor T                 95,548.56          10/20/2023
     Processor T                 63,393.88          10/21/2023
     Processor T                 54,284.50          10/22/2023
     Processor T                 90,776.18          10/23/2023
     Processor T                 86,213.13          10/24/2023
     Processor T                 97,214.03          10/25/2023
     Processor T                 76,296.30          10/26/2023
     Processor T                 66,479.79          10/27/2023
     Processor T                 45,004.66          10/28/2023
     Processor T                 53,794.42          10/29/2023
     Processor T                 55,028.37          10/30/2023
     Processor T                 82,997.68          10/31/2023
                              1,084,674.43

FSS switched credit card processors in October in order to reduce our bankcard rate from 7.0% to
5.5%. The settlement period in the new contract is listed as 5-10 business days resulting in our
Accounts Receivable balance at month end being significantly higher than previous months.
As of the date of this MOR filing, all of the above AR has been collected by FSS.




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                                      AXOS Deposits      AXOS Operating             AXOS Donations     AXOS Payroll         AXOS Infowars           AXOS Legal            CADE Deposits       CADE Operating       CADE Donations         CADE Payroll         CADE Escrow          TOTAL
                                        # 78877              # 78919                   # 78885           # 78927           # 78893 # 77838           # 78901                # 78877             # 8-100-8            # 8-101-6             # 8-102-4            # 8-103-2       All Accounts

October 1 to October 30

     Opening Balance                      628,476.66           724,763.94                63,692.61           5,000.00           396,338.37            100,000.00                      -                    -                    -                    -                    -       1,918,271.58

          Cash Receipts                 1,362,617.55           190,048.16                 6,053.60                -             184,614.80                    -               554,843.78              2,496.89             2,455.00                  -                    -       2,303,129.78

          Cash Disbursements                   (15.00)       (1,104,135.17)                     -         (374,235.01)          (96,911.37)                   -                       -              (3,301.46)                 -            (185,794.86)                 -      (1,764,392.87)

          Net Cash Flow                 1,362,602.55          (914,087.01)                6,053.60        (374,235.01)           87,703.43                    -               554,843.78               (804.57)            2,455.00          (185,794.86)                 -        538,736.91

          Transfers In                            -            923,133.29                 10,000.00        374,235.01            67,618.36                    -                616,092.55         1,018,432.90            79,746.21           190,794.86           565,887.38     3,845,940.56
          Transfers Out                 (1,991,079.21)        (733,400.64)               (79,746.21)        (5,000.00)         (465,887.38)           (100,000.00)            (285,032.26)         (185,794.86)                 -                    -                    -      (3,845,940.56)

     Cash on Hand                                 -                409.58     (a)               -                 -              85,772.78    (a)             -               885,904.07           831,833.47             82,201.21             5,000.00           565,887.38     2,457,008.49



                               (a)   On 10/26 AXOS bank closed our accounts for the second time in 30 days, despite assurances that they would work with FSS to provide an orderly transition. There was some confusion with the InfoWars account #78893 and the InfoW
                                     Account #77838 with the multiple account closures and cashiers checks that were sent to the Austin office. The InfoW address on file with AXOS was to a different office and as of 10/31 we were still working with AXOS bank to
                                     get the closing balance to the correct account. It will be resolved in November, but that is why the AXOS statement reads $0 balance but we show a balance as we haven't received the cahsiers check to deposit.




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